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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION


UNITED STATES OF AMERICA                                        §
                                                                §
v.                                                              §   CRIMINAL NO. H-07-038
                                                                §
REGINO GARCIA                                                   §


                                                     ORDER DENYING BOND

            The Court has before it Defendant Regino Garcia’s “Appeal of Order of

Detention” [Doc. # 180] (the “Motion”)1 and has conducted a de novo review of

Defendant’s application for bond. The Court has considered the Motion, the

Government’s Response [Doc. # 182], the transcript of the detention hearing held

before Magistrate Judge Calvin Botley on April 5, 2007 [Doc. # 172], the original

Pretrial Services Report and its Addendum # 1, the Magistrate Judge’s Order of

Detention Pending Trial filed April 5, 2007 [Doc. # 144], all other matters of record

pertaining to Defendant Garcia, as well as applicable law. Defendant, a United States

citizen, states that his mother and Mayra Angel Tamez, both United States citizens,




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            Defendant explains that he did not intend to appeal the Magistrate Judge’s ruling to the Court
            of Appeals for the Fifth Circuit, as indicated by the title of the Motion. Rather, Defendant
            seeks a District Judge’s de novo review of the Magistrate Judge’s denial of bond. See Doc.
            # 181.
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are willing to serve as sureties on a bond for him. The Court denies Defendant’s motions.

            Defendant is charged in Count 1 with participating in a drug conspiracy, 21

U.S.C. §§ 841(a)(1), 841(b)(1)(A)(ii), and 846, and in Count 5 with aiding and

abetting possession with intent to deliver cocaine in violation of 21 U.S.C. §§

841(a)(1), 841(b)(1)(B)(ii), and 18 U.S.C. § 2. Count 1 is punishable by no less than

10 years and not more than life imprisonment, among other sanctions.

            Under 18 U.S.C. § 3142(e), a finding of probable cause that a person

committed an offense under the Controlled Substances Act, 21 U.S.C. § 801 et seq.,

punishable by ten years or more imprisonment, triggers rebuttable presumptions that

no condition or combination of conditions will reasonably assure the appearance of

the person as required and the safety of the community. The rebuttable presumptions

of 18 U.S.C. § 3142(e) shift to the defendant only the burden of producing contrary

evidence, but does not shift the burden of persuasion. United States v. Rueben, 974

F.2d 580, 586 (5th Cir. 1992); United States v. Hare, 873 F.2d 796, 798 (5th Cir.

1989).2

            The Government has presented the indictment and other evidence sufficient to

establish probable cause that Defendant violated 21 U.S.C. §§ 841 and 846, and thus


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            It is noted, however, the mere production of evidence does not completely rebut the
            presumption.” Rueben, 974 F.2d at 586 (5th Cir. 1992) (citing Hare, 873 F.2d at 798).
            “Congress considered that in the circumstances that trigger the § 3142(e) presumption a
            ‘strong probability arises that no form of conditional release will be adequate.’” United
            States v. Fortna, 769 F.2d 243, 251 (5th Cir. 1985) (citation omitted).

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the Government has raised the 18 U.S.C. § 3142(e) presumptions. Defendant has

pointed to evidence to challenge these presumptions, but the Court finds that the

United States nevertheless has carried its burden of persuasion by clear and

convincing evidence that no condition or combination of conditions will reasonably

assure the appearance of Defendant as required, and reasonably assure the safety of

the community under the circumstances of this case. See 18 U.S.C. § 3142(f).

            Defendant was actively involved in the massive charged drug trafficking

conspiracy. He was caught transporting five kilos of cocaine and had a .40 caliber

firearm in his car at the time of the seizure and arrest.3 He had direct (recorded)

communications with lead co-defendant Joey Herrera in which they discussed the five

kilogram cocaine transaction. The Court finds probable cause to believe that

Defendant violated §§ 841 and 846, as charged in the indictment and, if convicted,

faces a sentence of at least ten years imprisonment.

            As to flight risk, Defendant prior to his arrest was unemployed for a substantial

period of time, although he apparently has training and a degree as an airline

mechanic. Defendant, as a United States citizen, could easily relocate outside this

jurisdiction, if he chose. He has no dependents in Houston, and owns no real

property. Defendant has presented no meaningful information about the property



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            The Court has considered the fact that the gun was apparently in a gun case in the back seat
            of the car.

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potentially available to serve as security for bond and forfeitable in the event he failed

to appear.4

            Regarding safety of the community, it is first noted that Defendant was arrested

with a gun in his car with a substantial amount of cocaine. Further, the conditions of

bond Defendant proposes are not sufficient. He lived with his mother when he is

alleged to have committed this offense, which belies the argument that she would

effectively oversee him while he is on bond. The evidence is insufficient to persuade

the Court that Defendant is not a continuing threat to the community.

            The Court therefore holds that the Government has sustained its burden of

showing by clear and convincing evidence that no conditions or combination of

conditions for bond will reasonably assure that Defendant will appear for trial and

prevent Defendant from being a danger to the community. It is therefore

            ORDERED that no order setting conditions of release will be issued at this

time. It is further

            ORDERED that Defendant Regino Garcia’s request for bond pending trial

[Doc. # 180] is DENIED.

            SIGNED at Houston, Texas this 21st day of June, 2007.




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            The Court has been presented with no evidence about the second proffered co-signer, except
            that she is a United States citizen living in Houston.

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